                  Case 1-20-43233-jmm                         Doc 34       Filed 11/22/20              Entered 11/23/20 00:07:38


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 20-43233-jmm
Boaz Arik Gilad                                                                                                        Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: jfebus                                                               Page 1 of 4
Date Rcvd: Nov 20, 2020                                               Form ID: pdf002                                                         Total Noticed: 115
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 22, 2020:
Recip ID                   Recipient Name and Address
db                     +   Boaz Arik Gilad, 659 Bergen Street, Apt 5A, Brooklyn, NY 11238-3597
smg                    +   NYC Department of Finance, 345 Adams Street, Office of Legal Affairs, Brooklyn, NY 11201-3739
smg                    +   NYS Unemployment Insurance, Attn: Insolvency Unit, Bldg. #12, Room 256, Albany, NY 12240-0001
cr                     +   ECSI Contracting Corporation, 217 Havemeyer St., 4th Flr., Brooklyn, NY 11211-6277
traty                  +   Rosen & Kantrow, PLLC, 38 New Street, Huntington, NY 11743-3463
9880663                +   156 BROADWAY LLC, & ITS, c/o ROBINSON BROG GREENE GENOVESE, 875 THIRD AVE., 9TH FLOOR, New York, NY
                           10022-0123
9880664                +   227 Clarkson Investors, c/o SHIBOLETH LLP, ONE PENN PLAZA, New York, NY 10119-0002
9907874                +   227 Clarkson Investors LLC and Clarkson Upreal LLC, c/o SSRGA LLP, 444 Madison Avenue, New York, New York 10022-6903
9880665                +   441 Bainbridge LLC, c/o GORDON & GORDON, PC, 108-18 QUEENS BLVD., 6TH FL., Forest Hills, NY 11375-4748
9880666                +   56 EAST INVESTORS LLC, c/o LAZARUS & LAZARUS, 240 MADISON AVENUE, New York, NY 10016-2820
9907875                +   625 Madison Investors LLC, 650 & 654 Madison Inves, c/o SSRGA LLP, 444 Madison Avenue, New York, New York 10022-6903
9880667                +   659 Bergen Board, 659 Bergen Street, Brooklyn, NY 11238-3597
9907212                +   807 Washington Avenue Investors LLC, c/o Lazarus & Lazarus, P.C., 240 Madison Avenue, 8th Flr., New York, NY 10016-2878
9907214                +   807 Washington Investors LLC, c/o Lazarus & Lazarus, P.C., 240 Madison Avenue, 8th Flr., New York, NY 10016-2878
9880668                +   927 ATLANTIC INVESTORS LLC, c/o Shiboleth LLP, 1 Penn Plaza, New York, NY 10119-0002
9907873                +   927 Atlantic Investors LLC and Atlantic Upreal LLC, c/o SSRGA LLP, 444 Madison Avenue, New York, New York 10022-6903
9880669                +   99-103 GROVE INVESTORS LLC, c/o Shiboleth LLP, 1 Penn Plaza, New York, NY 10119-0002
9907876                    991 Eastern Investors LLC and Eastern Upreal LLC, c/o SSRGA LLP, New York, New York 10022
9880679                +   ATLANTIC WASHINGTON FUNDING, c/o Mavrides, Moyal, Packman & Sadkin, 1981 MARCUS AVENUE, New Hyde Park, NY
                           11042-2060
9880670                +   Allenby Finance, 750 Lexington Ave, 27th Floor, Evan Schwartzberg, New York, NY 10022-9807
9880671                +   Alon Even Chen, c/o Shiponi Law Firm PC, 10706 71st Road, #2, Forest Hills, NY 11375-4778
9880672                +   Alon Even Chen, c/o Shiboleth LLP, One Penn Plaza, New York, NY 10119-0002
9880673                +   American Express, Correspondence/Bankruptcy, Po Box 981540, El Paso, TX 79998-1540
9880674                    Arye Dentzinger LLP, Attention: Tal Lenchiner Esq., Azrieli Center 1,, Tel Aviv, Israel 6701101
9880675                +   Arye Lin, c/o Ingram Yuzek Gainen Carroll, 250 Park Avenue, 6th floor, New York, NY 10177-0001
9880676                +   Assaf Fitoussi, 2 Pinetree Lane, Old Westbury, NY 11568-1118
9880678                +   Assaf Krill, c/o Ingram Yuzek Gainen Carroll, 250 Park Avenue, 6th floor, New York, NY 10177-0001
9880680                +   BENCHMARK CONTRACTING, INC., c/o RODRIGUEZ-MCCLOSKEY PLLC, 300 CADMAN PLAZA WEST, 12TH FLOOR,
                           Brooklyn, NY 11201-3226
9880681                +   BENCHMARK CONTRACTING, INC., c/o Mark Rowin, Esq., 300 EAST 42ND STREET, New York, NY 10017-5947
9880682                +   Board of Managers of the, Park Place Condominium, c/o LASSER LAW GROUP. PLLC, 10 EAST 39TH STR., 12TH FLOOR, New
                           York, NY 10016-0111
9880683                    Brookland Upreal LTD, c/o GISSIN & CO., HABARZEL 38B, TEL AVIV 6971054, Israel
9880686                +   CLASSON PROSPECT, INC, c/o RICHARD A. KLASS, 16 COURT STREET, 28TH FLOOR, Brooklyn, NY 11241-1028
9880685                +   Citibank, Citicorp Credit Srvs/Centralized Bk dept, Po Box 790034, St Louis, MO 63179-0034
9880687                +   Cross River Bank, 400 Kelby St., 14th Floor, Fort Lee, NJ 07024-2938
9880690                +   DOROTHY DRISCOLL, c/o RESTIVO & MURPHY LLP, 401 FRANKLIN AVENUE, Suite #107, Garden City, NY 11530-5942
9887546                +   Danielle Cohen, Esq., Tesser & Cohen, 946 Main Street, Hackensack, NJ 07601-5136
9880688                +   David Fiveson, c/o Butler Fitzgerald Fiveson & McCarthy, 9 East 45th Street, 9th floor, New York, NY 10017-8456
9880689                +   David Rosenblaum, Prophet Capital, 10 East 53 Street, 30th Floor, New York, NY 10022-5244
9906665                +   Dylan Matthew Lackowitz, Wachtel Missry LLP, One Dag Hammarskjold Plaza, 885 Second Avenue, 47th Floor, New York, NY
                           10017-2229
9893974                +   ECSI Contracting Corporation, c/o Muchmore & Associates PLLC, 217 Havemeyer St., 4th Flr., Brooklyn, NY 11211-6277
9880694                +   EXCEL SECURITY SYSTEMS, INC., c/o RODRIGUEZ-MCCLOSKEY PLLC, 300 CADMAN PLAZA WEST, 12TH FLOOR,
                           Brooklyn, NY 11201-3226
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Date Rcvd: Nov 20, 2020                                    Form ID: pdf002                                                   Total Noticed: 115
9880691         + East 19 BL, c/o CTBC Bank Corp., 41-99 Main Street, Flushing, NY 11355-5164
9907216         + East Upreal LLC, c/o Lazarus & Lazarus, P.C., 240 Madison Avenue, 8th Flr., New York, NY 10016-2878
9895569         + Elizabeth Aboulafia, Esq., Cullen and Dykman, LLP, 100 Quentin Roosevelt Boulevard, Garden City, New York 11530-4850
9880692           Esther Steiner, Hakalanit 16, Zichron Yaacov, Israel 3093115
9880693           Esther Steiner-Yeshurun, Hakalanit 16, Zichron Yaacov, Israel 3093115
9880695         + FERGUSON ENTERPRISES LLC, c/o ELIAS C. SCHWARTZ, ESQ, 343 GREAT NECK ROAD, Great Neck, NY 11021-4220
9880698           GISSIN & CO., ADVOCATES, HABARZEL 38B, TEL AVIV, Israel 6971054
9880696         + Genesis Capital, Genesis Capital/Goldman Sachs Bank, 15303 Ventura Blvd., Suite 700, Sherman Oaks, CA 91403-3197
9906666         + Gil Holdings LLC, Wachtel Missry LLP c/o Dylan Lackowitz, One Dag Hammarskjold Plaza, 885 Second Avenue, 47th Floor, New York,
                  NY 10017-2229
9906663         + Gil Ohana, Wachtel Missry LLP c/o Dylan Lackowitz, One Dag Hammarskjold Plaza, 885 Second Avenue, 47th Floor, New York, NY
                  10017-2229
9880697        #+ Gil Ohana, 16 Beech Rd, Englewood, NJ 07631-3737
9907851         + Guy Gissin, Adv. and Ron Hadassi, Adv., Chapman and Cutler LLP, Michael Friedman, 1270 Avenue of the Americas, 30th Floor, New
                  York, NY 10020-1708
9880699         + HERC RENTALS, INC., c/o TESSER & COHEN, 946 MAIN ST, Hackensack, NJ 07601-5136
9880700         + HERRERA TURCIOS, ROSBIN A., c/o MARK E. WEINBERGER P.C., 50 MERRICK ROAD, Rockville Centre, NY 11570-4726
9880701         + Ilan Hauser, c/o Ingram Yuzek Gainen Carroll, 250 Park Avenue, 6th floor, New York, NY 10177-0001
9880702         + Ingram Yuzek Gainen Carroll & Bertolotti, 150 E 42nd Street, 19th Floor, New York, NY 10017-5610
9880703         + Ingram Yuzek Gainen Carroll & Bertolotti, 250 PARK AVENUE, New York, NY 10177-0600
9880662         + Internal Revenue Service, c/o US Attorney Claims Unit, One Saint Andrews Plaza Rm 417, New York, NY 10007-1701
9880704         + Jeremy Hopwood, 659 Bergen St, 4A, Brooklyn, NY 11238-3597
9892590           Jerry A. Montag, Esq., SEYFARTH SHAW LLP, 620 Eighth Avenue, New York, NY 10018, (212) 218-5598, email:
                  jmontag@seyfarth.com
9880705         + Joseph Shilon, c/o LAZARUS & LAZARUS, 240 Madison Ave, New York, NY 10016-2820
9907218         + Joseph Shilon also known as Yossi Shilon, c/o Lazarus & Lazarus, P.C., 240 Madison Avenue, 8th Flr., New York, NY 10016-2878
9880706         + LAGE INDUSTRIES, CORP, c/o YENISEY RODRIGUEZ-MCCLOSKEY, 300 CADMAN PL, Brooklyn, NY 11201-3229
9880707           Leaderim LLP, Sapir Tower, Tuval 40, 33rd Floor, Attention: Ran Werner, Ramat Gan Israel
9880709         + Limor Goren, c/o Cullen Dykman, 100 Quentin Roosevelt Blvd, Attention: Elizabeth Aboulafia, Garden City, NY 11530-4850
9880708         + Limor Goren, 52 3rd St Apt #2, Brooklyn, NY 11231-4806
9880711           Loan Trust LLC, 11 Middle Neck Rd. #400A, Attention: Allen Shayafeker, Brooklyn, NY 11201
9880712         + Loan Trust LLC, 11 Middle Neck Rd. #400A, Great Neck, NY 11021-2310
9880710         + Loan Trust LLC, c/o Deutsch & Schneider, Leslie Perski, 79-37 Myrtle Ave, Ridgewood, NY 11385-7440
9907850         + Michael Friedman, Chapman and Cutler LLP, 1270 Avenue of the Americas, 30th Floor, New York, NY 10020-1708
9880713         + NETT PROJECT LLC, c/o KING & KING, LLP, 629 FIFTH AVE., BLDG #3-#113, Pelham, NY 10803-1251
9880715         + NYC Health+, PO BOX 3475, Toledo, OH 43607-0475
9880714         + Nixon Peabody, 55 West 46th Street, Attention: Erica Buckley, New York, NY 10036-4277
9880716         + PLENITUDE CAPITAL LLC, c/o SEYFARTH SHAW, 620 8TH AVE., 33rd FLOOR, New York, NY 10018-1595
9880717         + PMONY INC., c/o HERRICK & FEINSTEIN, 2 PARK AVENUE, New York, NY 10016-5675
9892392         + PMONY, Inc. and Prophet Capital REIT, Inc., c/o Herrick Feinstein LLP, Attn: Stephen B. Selbst, Two Park Avenue, New York, NY
                  10016-9302
9880720         + PROPHET CAPITAL REIT INC, c/o HERRICK & FEINSTEIN, 2 PARK AVENUE, New York, NY 10016-5675
9892885         + Plenitude Capital LLC, c/o Seyfarth Shaw LLP, 620 Eighth Avenue, New York, NY 10018-1618
9880719         + Prophet Capital, c/o Mavrides Moyal Packman & Sadkin LLP, 276 5th Avenue, New York, NY 10001-4509
9880718         + Prophet Capital, c/o Mayer Brown, 1221 6th Avenue, New York, NY 10020-1001
9884701         + SS-NP-Select Delaware Owner Trust, c/o Deutsch & Schneider, LLP, 79-37 Myrtle Avenue, Glendale, New York 11385-7440
9880721         + Shai Livni, c/o Ingram Yuzek Gainen Carroll, 250 Park Avenue, 6th floor, New York, NY 10177-0001
9880659         + State of New York, Attorney General's Office, 120 Broadway, New York, NY 10271-0002
9880722         + Summerfield Funding LLC, c/o Cohn Lifland Pearlman Herrmann et al, 250 Pehle Ave Suite 401, Allen Susser, Esq., Saddle Brook, NJ
                  07663-5832
9880726         + TIDEWAY CAPITAL FUNDING LLC, c/o KRISS & FEUERSTEIN LLP, 360 LEXINGTON AVENUE, Suite 1200, New York, NY
                  10017-6502
9880727         + TITAN, 140 East 45th Street, New York, NY 10017-3144
9880731         + TITAN CAPITAL ID, LLC, 140 East 45th Street, New York, NY 10017-3144
9880728         + TITAN CAPITAL ID, LLC, c/o PRYOR CASHMAN LLP, 7 Times Square, New York, NY 10036-6524
9880730         + TITAN CAPITAL ID, LLC, c/o Pryor Cashman LLP, 7 Times Square, 40th Floor, New York, NY 10036-6570
9880729         + TITAN CAPITAL ID, LLC, c/o ROY C JUSTICE, 600 3RD AVENUE, 2ND FLR, New York, NY 10016-1919
9880723         + Tamika Nelson, 436 MacDonough Street, Brooklyn, NY 11233-1114
9880724         + Tideway Capital Fundin, c/o Kriss & Feuerstein, 360 Lexington Avenue #6502, New York, NY 10017-6502
9880725         + Tideway Capital Funding, c/o Kriss & Feuerstein, 360 Lexington Avenue #6502, New York, NY 10017-6502
9906865         + Titan Capital ID, LLC, 140 East 45th Street, 40th Floor, New York, NY 10017-3144
9884777         + Titan Capital ID, LLC, c/o Pryor Cashman LLP, Attn: Marie P. Hofsdal, 7 Times Square, New York, NY 10036-6569
9880732         + UNITED BAINBRIDGE LLC, c/o RICHLAND & FALKOWSKI, 35-37 36TH ST., 2ND FLOOR, Astoria, NY 11106-1347
9880733         + UNITED CONCRETE MIX OF, c/o YENISEY RODRIGUEZ-MCCLOSKEY LLP, 300 Cadman Plaza West, 12th Floor, Brooklyn, NY
                  11201-3226
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Date Rcvd: Nov 20, 2020                                               Form ID: pdf002                                                         Total Noticed: 115
9880734                + UPREAL BROOKLYN EQUITY PROJECTS LIMITED, SCOTT STONE, 222 BLOOMINGDALE RD, 301, White Plains, NY
                         10605-1511
9880658                + United States Attorney, Eastern District of New York, 147 Pierrepont Plaza, Brooklyn, NY 11201-2712
9880661                + United States of America, c/o U.S. Attorney, 86 Chambers Street, New York, NY 10007-1825
9880737                + WHITE OAK PROJECTS, LLC, c/o SEYFARTH SHAW LLP, 620 8th Ave, New York, NY 10018-1618
9880736                + Watchtell Missry LLP, 885 2nd Ave, Attn: Eli Dweck, Esq., New York, NY 10017-2218
9892884                + White Oak Projects, LLC, c/o Seyfarth Shaw LLP, 620 Eighth Avenue, New York, NY 10018-1618
9880738                + White Oaks, c/o Shiponi Law Firm PC, 10706 71st Road, #2, Forest Hills, NY 11375-4778
9880739                + White Oaks, c/o Daniel Gershburg, 85 Broad St #18, New York, NY 10004-2783
9880742                + YOAV MORITZ, c/o SCHRIER & ASSOCIATES, 250 OLD COUNTRY ROAD,, 3rd Floor, Mineola, NY 11501-4212
9880740                  Yigal Arnon & Co., Attention: Benjamin Horef, 5 Azrieli Center, Tel Aviv, Israel 6702501
9880741                + Yoav Moritz, c/o Ingram Yuzek Gainen Carroll, 250 Park Avenue, 6th floor, New York, NY 10177-0001
9880743                + ZAG-S&W, 1633 Broadway, Attention: Eran Ben Dor, New York, NY 10019-6708

TOTAL: 110

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Nov 20 2020 18:09:00      NYS Department of Taxation & Finance,
                                                                                                                  Bankruptcy Unit, PO Box 5300, Albany, NY
                                                                                                                  12205-0300
smg                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Nov 20 2020 18:09:00      Office of the United States Trustee, Eastern
                                                                                                                  District of NY (Brooklyn Office), U.S. Federal
                                                                                                                  Office Building, 201 Varick Street, Suite 1006,
                                                                                                                  New York, NY 10014-4811
9880684                + Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                        Nov 20 2020 18:13:01      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
9880660                + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Nov 20 2020 18:09:00      NYS Dept of Tax & Finance, Bankruptcy Unit, PO
                                                                                                                  Box 5300, Albany, NY 12205-0300
9880735                + Email/Text: vci.bkcy@vwcredit.com
                                                                                        Nov 20 2020 18:09:00      Volkswagen Credit, Inc, Attn: Bankruptcy, Po Box
                                                                                                                  3, Hillboro, OR 97123-0003

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Herc Rentals, Inc.
cr                             Limor Goren a/k/a Cohen
cr                             PMONY, Inc. and Prophet Capital REIT, Inc.
cr                             Plenitude Capital LLC
cr                             SS-NP-Select Delaware Owner Trust
cr                             Titan Capital ID, LLC
cr                             White Oak Projects, LLC
9895901                        Prophet Capital Asset Management
9905216          *+            Herc Rentals, Inc., c/o Tesser & Cohen, 946 Main Street, Hackensack, NJ 07601-5136
9892591          *             Jerry A. Montag, Esq., SEYFARTH SHAW LLP, 620 Eighth Avenue, New York, NY 10018, (212) 218-5598, email:
                               jmontag@seyfarth.com

TOTAL: 8 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
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District/off: 0207-1                                                   User: jfebus                                                     Page 4 of 4
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Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 22, 2020                                            Signature:           /s/Joseph Speetjens




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 19, 2020 at the address(es) listed
below:
Name                                  Email Address
Alex E. Tsionis
                                      on behalf of Trustee David J. Doyaga atsionis@rkdlawfirm.com
                                      fkantrow@rkdlawfirm.com;arosen@rkdlawfirm.com;ddobbin@rkdlawfirm.com;npizzo@rkdlawfirm.com;emeade-bramble@rkdl
                                      awfirm.com

Danielle E Cohen
                                      on behalf of Creditor Herc Rentals Inc. dcohen@tessercohen.com, ddelucia@tessercohen.com

David J. Doyaga
                                      on behalf of Trustee David J. Doyaga david.doyaga.sr@gmail.com NY98@ecfcbis.com,carolina@doyagalawfirm.com

David J. Doyaga
                                      david.doyaga.sr@gmail.com NY98@ecfcbis.com,carolina@doyagalawfirm.com

Doris Barkhordar
                                      on behalf of Creditor SS-NP-Select Delaware Owner Trust DorisB@DandSLaw.com wfielding@dandslaw.com

Elizabeth M Aboulafia
                                      on behalf of Creditor Limor Goren a/k/a Cohen eaboulafia@cullenanddykman.com

Jerry A Montag
                                      on behalf of Creditor White Oak Projects LLC jmontag@seyfarth.com, NYCManagingClerksOffice@seyfarth.com

Jerry A Montag
                                      on behalf of Creditor Plenitude Capital LLC jmontag@seyfarth.com NYCManagingClerksOffice@seyfarth.com

Marie Polito Hofsdal
                                      on behalf of Creditor Titan Capital ID LLC mhofsdal@pryorcashman.com

Mark A. Frankel
                                      on behalf of Debtor Boaz Arik Gilad mfrankel@bfklaw.com
                                      mark_frankel@yahoo.com;frankel.mark@gmail.com;frankelmr74702@notify.bestcase.com

Maximilian D Travis
                                      on behalf of Creditor ECSI Contracting Corporation mtravis@muchmorelaw.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov

Stephen B Selbst
                                      on behalf of Creditor PMONY Inc. and Prophet Capital REIT, Inc. sselbst@herrick.com,
                                      courtnotices@herrick.com;lporetsky@herrick.com


TOTAL: 13
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
In re:
            GILAD, BOAZ ARIK                                                         Case No. 120-43233
                                   Debtor(s).
                                                                                     Chapter 7

------------------------------------------------------------------x
                                        NOTICE OF SECTION 341 MEETING OF CREDITORS

           YOU ARE HEREBY NOTIFIED that the initial Section 341 meeting of creditors for the above-captioned case,
scheduled as an in-person meeting for 12/03/20 at 01:30pm will now be reset as a telephonic meeting and conducted by
telephone conference on 12/03/20 at 01:30pm (the Designated Meeting Time).
           All parties shall appear by phone at the section 341 in accordance with the instructions below.
           Call In Information
           On the date and time set forth above, parties shall dial-in to the meeting using the following dialing instructions:
                       Meeting Dial-in No: 877-915-3909, and
                       when prompted enter the Participant Code: 9265627 followed by #.
           To avoid confusion or technical difficulties, attendees are instructed to call in at the Designated Meeting Time, not
before that time, and to disconnect the call after their meeting is concluded. Thank you for you anticipated cooperation in this
regard.
           Instructions for Testifying Debtors and Counsel
           No later than one day prior to the Designated Meeting time, the debtor and/or their counsel are required to email the
trustees with an imaged copy of the debtor’s photo identification and proof of the debtor’s social security number (Identification
Documents) A copy of the Debtor’s identification and proof of social security number must be provided to the trustee via a
secure method, i.e., portal, encrypted email, etc. Identification Documents shall be those documents deemed acceptable in
accordance with current applicable procedures.
           Telephonic appearances shall be conducted in accordance with current applicable procedures for telephonic meetings.
Accordingly, a Declaration Regarding Administration of Oath and Confirmation of Identity and Social Security Number form
shall be completed by the individual performing this function and transmitted to the trustee immediately following the meeting
(attachment #1).
           Alternatively, if compliance with the procedures set forth above are not possible or practical under these emergent
circumstances, the debtor’s attorney may submit prior to the time of the scheduled meeting a declaration confirming that: (1) the
attorney met with the debtor in-person; and (2) the attorney examined and verified the debtor’s original identification documents
and social security number. In such situations, upon notification by the debtor and/or their counsel that they are using the
alternate procedures, the trustee will administer the oath telephonically at the commencement of the 341 meeting (attachment #2).

Dated: November 18, 2020                                                 Chapter 7 Trustee
                                                                         /s/ David J. Doyaga, Sr.
                                                                         David J. Doyaga, Sr.
                                                                         26 Court Street, Suite 1601
                                                                         Brooklyn, NY 11242
                                                                         (718) 488-7500
